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August 22, 2023                                                                                                      Michael L. Harrison
via e-mail
                                                                                                                600 Travis Street. Suite 3400
Judge Phyllis Hamilton via                                                                                            Houston, Texas 77002
                                                                                                                              t 713.546.5690
Courtroom Deputy Kelly Collins
                                                                                                                       mlharrison@shb.com
PJHCRD@cand.uscourts.gov

Cc: City Attorney of City Of San Jose
Deputy City Attorneys
Yue-Han.Chow@sanjoseca.gov
Matthew.Pritchard@sanjoseca.gov

Re: Letter to Clarify Ruling on Motion for Summary Judgment (ECF Doc. 147) NAACP
et al v. City of San Jose - Case No. 21-cv-01705-PJH

Dear Ms. Collins,

On behalf of Plaintiffs, we respectfully seek clarification as to the Court’s ruling on the
state law claims of Peter Allen and Megan Swift. The Court's 3 August 2023 Order
outlining the surviving claims appears to exclude Megan Swift and Peter Allen’s state law
claims against the City, despite the City's respondeat superior liability. (ECF Doc. 147, pg.
33).

The Order states that “to the extent that summary judgment was denied as to the Fourth
Amendment claim brought by plaintiffs Acosta, Swift, Vasquez, Allen, and Flores,
summary judgment is also DENIED as to the” state law claims. (Id. at 32). The Court
granted summary judgment as to plaintiffs Swift and Allen’s Fourth Amendment Monell
claim against the City (id. at 29) but did not address the City's vicarious liability on the
state law claims, which was asserted in Plaintiffs' brief and not contested by Defendants.
(Doc. 144-1, p. 49, top of page.)

Plaintiffs respectfully seek clarification as to whether Megan Swift and Peter Allen’s state
law claims against the City of San José survived summary judgment.

Sincerely,



Michael L. Harrison
Attorney for Plaintiffs appearing pro hac vice



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